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 1                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
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       - - - - - - - - - - - - - - - x
 3     THE UNITED STATES OF AMERICA,
                                           Criminal Action No.
 4                     Plaintiff,          1:21-cr-00582-CRC-1
                                           Tuesday, October 26, 2021
 5     vs.                                 11:03 a.m.

 6     MICHAEL A. SUSSMANN,

 7                   Defendant.
       - - - - - - - - - - - - - - - x
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       ____________________________________________________________
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                     TRANSCRIPT OF STATUS CONFERENCE
10            HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                       UNITED STATES DISTRICT JUDGE
11     ____________________________________________________________

12     APPEARANCES:

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 1                           P R O C E E D I N G S

 2                 THE COURTROOM DEPUTY:     Your Honor, we're on the

 3     record for Criminal Case 21-582, United States of America

 4     vs. Michael A Sussmann.

 5                 Counsel, if you can please identify yourselves for

 6     the record.

 7                 MR. DeFILIPPIS:    Good morning, Your Honor;

 8     Assistant Special Counsels Andrew DeFilippis, Michael

 9     Keilty, and Jonathan Algor for the United States.

10                 THE COURT:   Good morning, gentlemen.

11                 MR. BERKOWITZ:    And Sean Berkowitz, Michael

12     Bosworth, Natalie Rao, and Catherine Yao on behalf of

13     Michael Sussmann, who is also present by Zoom, Your Honor.

14                 THE COURT:   Okay.    Good morning.

15                 Mr. Sussmann, I can see you.      Can you see and hear

16     me?

17                 THE DEFENDANT:    Yes, Your Honor; good morning.

18                 THE COURT:   Good morning.     And I take it we have

19     your consent to proceed by video this morning?

20                 THE DEFENDANT:    Yes, Your Honor.

21                 THE COURT:   Okay.

22                 All right.   Mr. DeFilippis, where are we?

23                 MR. DeFILIPPIS:    Yes, Your Honor.     As we noted in

24     our opposition to the bill of particulars, we have commenced

25     the discovery process.      As of today we've produced to the
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 1     defense approximately 6,000 documents totaling over 80,000

 2     pages, and those consisted primarily of documents obtained

 3     pursuant to grand jury subpoena from approximately 15

 4     different entities.

 5                  We are in the process of declassifying a large

 6     volume of materials that we intend to turn over to the

 7     defense in unclassified form.       As Your Honor can imagine, a

 8     large bulk of the materials, the documents, in this case are

 9     currently classified, and so we are pushing through that

10     process.

11                  We expect to make an additional production to the

12     defense --

13                  THE COURT:   Why don't we stop at the

14     declassification process.

15                  MR. DeFILIPPIS:   Yes, Your Honor.

16                  THE COURT:   My past experience has been that that

17     process can be quite time-consuming and cumbersome depending

18     on the various equities at stake.        Any sense of when that

19     process can be completed?      And relatedly, whether there will

20     remain classified -- remain evidence that will be still

21     classified after that?

22                  MR. DeFILIPPIS:   Yes, Your Honor.     The defense has

23     asked us the same question, and, again, recognizing that

24     we're giving best estimates, what we are endeavoring to do

25     is produce, within the next 60 days approximately, the bulk
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 1     of the materials in our possession that do not require any

 2     declassification.

 3                 As to classified materials, we expect to make a

 4     very large production of those materials within the next

 5     month, and our goal would be to complete the balance of

 6     currently classified discovery within the next three to four

 7     months.

 8                 We then, Your Honor, anticipate there may be some

 9     motion practice under the Classified Information Procedures

10     Act.   Based on our assessment now, it doesn't look like it

11     will be a large quantity of materials that we would move

12     under CIPA to withhold, but we do expect there probably will

13     be some.

14                 THE COURT:   Okay.    Anything else?

15                 MR. DeFILIPPIS:    Not from the government, Your

16     Honor.

17                 I'd also note that we are conferring with the

18     defense on some discrete discovery requests that they've

19     made, and this is why we think there's a bit of uncertainty

20     in terms of final production deadlines.

21                 They've requested a number of things that we are

22     happy to search for and produce and look for in the

23     government's holdings.      Those requests, however, will

24     require some additional searches over government systems,

25     and so, again, we will work and continue to work as quickly
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 1     as humanly possible on those with the defense.

 2                 THE COURT:   All right.    Mr. Berkowitz, anything to

 3     add?

 4                 MR. BERKOWITZ:    Yes, I do, Your Honor.      Thank you.

 5                 First of all, I think Mr. DeFilippis is correct

 6     that we've been in communication with them on discovery.

 7     I've had a call as recently as today, and I've had regular

 8     calls.

 9                 Having said that, we remain frustrated with the

10     pace of discovery to date.      The bulk of material identified

11     in the response to the motion for bill of particulars we

12     have not yet received, and the concept of waiting another 60

13     days to get the bulk of the nonclassified information or

14     discovery that doesn't require declassification seems

15     particularly long given that the case was charged 30 days

16     ago -- over 30 days ago.      We would ask that the government

17     produce, within the next 30 days, the bulk of the discovery

18     that is not classified or does not require declassification.

19                 To the extent that there are additional matters

20     that we have asked them for that they are searching and were

21     not part of their original investigation, we understand

22     that, and they can weed out past the next 60 days.             We're

23     not looking to play a game of "Gotcha" on those issues.

24                 But with respect to those materials in their

25     possession that do not require declassification, we see no
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 1     reason why we couldn't get those in the next 30 days.

 2                 THE COURT:   That's not holding up the critical

 3     path of the case, is it, since we still have to go through

 4     this declassification process?

 5                 MR. BERKOWITZ:    Well, it's not holding up the

 6     critical path of the case, Your Honor.        I do think it may be

 7     holding up our pretrial motions, and there's also a Brady

 8     issue with respect to information that we think the

 9     government has that has not yet been provided to us,

10     including, as referenced in our reply on the bill of

11     particulars, expense reports showing that the meeting with

12     the FBI was not billed to the Clinton Campaign but was

13     billed to a firm account as well as certain grand jury

14     testimony of witnesses that we understand exist that have

15     exculpatory information that we've not yet seen.

16                 THE COURT:   Okay.

17                 MR. BERKOWITZ:    So those are things that we'd like

18     to get forthwith, needless to say.

19                 THE COURT:   How is your clearance coming?

20                 MR. BERKOWITZ:    We have a couple of -- we've all

21     applied for clearance.      One of our attorneys, Ms. Rao, has

22     her two-hour FBI interview today.        Mr. Bosworth had

23     previously had Top Secret clearance, and we expect that to

24     move quickly, but I don't know that we have an exact date.

25                 We've done everything, I believe, that we're
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 1     required to do to more that forward, but the ball is in the

 2     hands of the FBI, I believe, at this stage.

 3                 THE COURT:    Okay.   All right.    Well, it sounds

 4     to me like the government is moving apace.         I understand,

 5     Mr. Berkowitz, your desire to get out of the box quickly and

 6     litigate these issues sooner rather than later, but given

 7     the declassification process and potential CIPA proceedings

 8     and further legal motions, I don't think that anything is in

 9     the critical path at this point; so I am going to decline to

10     order the government to produce any particular things by any

11     particular date.

12                 But obviously the government's aware of their

13     discovery obligations, and it appears to me that they are

14     proceeding to meet them with reasonable efficiency.            So just

15     keep it up.

16                 And, you know, you mentioned your bill of

17     particulars motion.      I just saw that a reply was filed last

18     night.   I have not reviewed that.       I briefly read the

19     opposition, and I take it that certain of the requests may

20     be overtaken by events once the declassification process

21     starts and the government gives you additional discovery

22     material.    Is that fair, Mr. Berkowitz?

23                 MR. BERKOWITZ:    Yes, Your Honor.

24                 THE COURT:    Okay.   Well, once we get to a point --

25     well, how do you propose we proceed on the remaining issues
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 1     in the bill of particulars that the government has not

 2     indicated it will provide the defense in due course through

 3     the discovery process?

 4                 MR. BERKOWITZ:    I think our reply tries to tee up

 5     the issues that we don't think are satisfied by the

 6     additional discovery.      You know, needless to say, without

 7     having seen the particulars of the discovery, it's hard for

 8     me to say for certain that it's not there, but they've not

 9     pointed to a particular language, for example -- again, I'm

10     not looking to argue it; I'm just trying to give an

11     example -- what the specific statement is and the context

12     of that statement.     We've not seen anything to suggest that.

13     I don't know if there is a specific statement or whether

14     it's -- you know, they've done as much as they can.

15                 I think that one is ripe for consideration and

16     discussion.    If they want to point us to a particular

17     language and say this is the language we'll be doing from

18     the discovery, that's understandable, the identities of

19     individuals and so forth.

20                 I think that they are ripe, Judge.       We're happy to

21     take a look at the discovery to see if it's there, although

22     the government could point to the discovery and say, "Here's

23     your answer."

24                 We haven't seen that yet, and so I think those --

25     the four issues that we teed up in the reply I think are
     Case 1:21-cr-00582-CRC Document 22 Filed 10/28/21 Page 9 of 16       9


 1     ripe for your consideration.

 2                 THE COURT:   Okay.    I don't want to argue the bill

 3     of particulars here, but, Mr. DeFilippis, that issue is

 4     obviously sort of the starting point or, perhaps, the main

 5     point of the defense's motion.       Can you say whether the

 6     government intends to put on testimony of an exact

 7     statement, or will the government illicit testimony as to

 8     the general tenor of the statement that was made?

 9                 MR. DeFILIPPIS:    Your Honor, we will put on a

10     witness, namely the former general counsel of the FBI,

11     Mr. Baker, whose testimony -- obviously until the day of

12     trial we don't know exactly what his testimony will be, but

13     he will testify with as specific a recollection as he can as

14     to the statement.

15                 I would note that in the interim we have produced

16     to the defense the notes, including review of the original

17     notes that another official made relating to that statement,

18     and the defense will also have available, once discovery is

19     provided, Mr. Baker's recounting of those events in multiple

20     interviews with us as well as before the grand jury.

21                 So all of those materials are about as specific an

22     accounting of the statement as the government can possibly

23     provide when, as in this instance, we're relying on a live

24     witness to convey it at trial.

25                 THE COURT:   Okay.    Well, I'll review your reply,
     Case 1:21-cr-00582-CRC Document 22 Filed 10/28/21 Page 10 of 16              10


 1     and we'll make a determination as to whether we need

 2     argument on the bill of particulars.         If we do, it probably

 3     makes more sense to combine it with our next status

 4     conference.

 5                  MR. BERKOWITZ:    Understood.    And we appreciate

 6     that.

 7                  And we may have information by then from a

 8     discovery standpoint as to all of Baker's comments.             I don't

 9     know.   We're a little bit hamstrung in not knowing what is

10     out there.

11                  I did have -- and so I'm happy to do that.          I

12     think we'd like to get a status conference in the next 30

13     days or so approximately, same rhythm, which we think is

14     helpful to keep this on track.

15                  I have a couple of other issues that I did want to

16     raise with Your Honor, if you'll indulge me.

17                  THE COURT:   We're here.    Raise whatever you'd

18     like.

19                  MR. BERKOWITZ:    Okay.   You know, I do appreciate

20     that things are moving forward with reasonable pace.            I want

21     to make sure that we convey our desire to have a speedy

22     trial, and I'll try and define that a little bit more.               I'm

23     not looking to pin us down on a date today.

24                  Mr. Sussmann is not currently working or employed

25     as a result of these charges, and while we understand that
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 1     that is, you know, an issue that he needs to address, we

 2     don't want this to go on unnecessarily long because of the

 3     burden that it imposes upon him and his family.

 4                 This is an investigation that's been going on for

 5     some time, and we would like to target the spring of next

 6     year for a trial date.      We recognize, Your Honor, that your

 7     calendar is the most important thing here and has a tendency

 8     to fill up.    Our schedules also are busy, and the sooner we

 9     can get a date that we can target, I think that will help

10     with discovery, help with the CIPA process, and help set

11     things.

12                 Again, I'm not asking you today to do that.           We've

13     spoken to the government about that date, and they, I think,

14     are aligned in targeting that time period.

15                 THE COURT:    All right.    How I've handled this in

16     the past, Counsel, with, you know, large criminal cases is

17     to invite you folks to get together and to propose, you

18     know, a rough range for a trial date, and then work

19     backwards for, you know, major motions, milestones.             And

20     here it seems to me that the thing that's really driving the

21     bus is, you know, the declassification process and any

22     resulting CIPA hearings.       Those tend to be fairly time-

23     intensive and require a fair amount of back-and-forth.

24                 And so, you know, if you all are agreed that, you

25     know, a trial in the second or third quarter of next year or
     Case 1:21-cr-00582-CRC Document 22 Filed 10/28/21 Page 12 of 16      12


 1     even the first quarter of next year is where this is headed,

 2     I would invite you to get together and to file a proposed

 3     joint pretrial order that has a trial date or, you know, a

 4     target month, at least, and then work backwards with some

 5     motions deadlines.

 6                 The other limitation here obviously is we're still

 7     working under a standing order regarding COVID and courtroom

 8     limitations.     That order expires on October 31st, but I

 9     would not be at all surprised if it is extended.          We're

10     still trying to schedule trials off a master trial calendar

11     that's kept by the court as a whole -- so it's not just my

12     calendar, but it's the calendar of all of my colleagues that

13     we're dealing with -- and that might counsel in favor of

14     trying to, you know, set something on the master calendar

15     sooner rather than later and then, you know, having to move

16     it potentially, if that doesn't work out.

17                 So, you know, get together and talk about it, but

18     it seems to me that the, you know, potential CIPA process is

19     the one thing that could hold that up.

20                 MR. BERKOWITZ:     Understood, and we will work with

21     the government to come up with that hopefully by the next

22     pretrial -- or by the next conference we've got, Judge.

23                 THE COURT:    Okay.

24                 MR. BERKOWITZ:     One I'll call it a housekeeping

25     matter, but the motion to amend the setting of the orders of
     Case 1:21-cr-00582-CRC Document 22 Filed 10/28/21 Page 13 of 16       13


 1     conditions of release.      When Mr. Sussmann was -- the bond

 2     was implemented at court with the officer's as well as the

 3     government's blessing, he was given permission to travel to

 4     see family in New York without checking and within the

 5     continental United States with permission of pretrial

 6     services.    For whatever reason, the order that was

 7     ultimately entered required court approval for such travel,

 8     and we'd just ask that the conditions of release be amended

 9     to allow him to travel within the continental United States

10     with approval of pretrial services.

11                 I think that that's acceptable to the government,

12     although they're on the call and can say what they believe.

13                 THE COURT:    All right.    Mr. Berkowitz, you're

14     breaking up a little bit.       I think I got the gist of it.

15                 Mr. DeFilippis, any objection to that?

16                 MR. DeFILIPPIS:     No, Your Honor.     That reflects

17     the agreement the parties had at the time of arraignment.

18                 THE COURT:    Okay.   Just, Ms. Jenkins, technically

19     how should we deal with that?

20                 THE COURTROOM DEPUTY:      The parties can please file

21     a motion and propose an order for the Court to sign.

22                 THE COURT:    We'll just enter a minute order to

23     that effect.     You don't have to file a separate motion.

24                 But we don't need to fill out a probation form, do

25     we?
     Case 1:21-cr-00582-CRC Document 22 Filed 10/28/21 Page 14 of 16         14


 1                 THE COURTROOM DEPUTY:      I'm not sure.    Pretrial's

 2     involved.

 3                 MR. BERKOWITZ:     Just travel to New Jersey and D.C.

 4     doesn't need approval.      But travel outside of those areas

 5     within the continental United States would need pretrial

 6     approval, is what we're seeking.

 7                 THE COURT:    Got it.   All right.    We'll just enter

 8     a minute order just so the record's clear.

 9                 Anything else?

10                 MR. BERKOWITZ:     That is it on behalf of

11     Mr. Sussmann, Your Honor.

12                 THE COURT:    And the government?

13                 MR. DeFILIPPIS:     Yes, Your Honor.     The government

14     would just respectfully ask, so that the defense can review

15     discovery and the government can continue to produce

16     discovery, that the speedy trial time be excluded until the

17     next conference date.      We believe it's in the interests of

18     justice.

19                 THE COURT:    Okay.   Hearing no objection from the

20     defense, the Court will exclude the time between now and the

21     next status conference from the otherwise applicable speedy

22     trial calculations to enable the discovery process to

23     continue apace as well as due to the standing order

24     regarding COVID.

25                 Dates, Counsel?
     Case 1:21-cr-00582-CRC Document 22 Filed 10/28/21 Page 15 of 16      15


 1                 Ms. Jenkins, how about a date 30 days out or so?

 2                 THE COURTROOM DEPUTY:      December 8th at 2:00 p.m.

 3                 THE COURT:    December 8th at 2:00 p.m.?

 4                 MR. DeFILIPPIS:     That's good for the government,

 5     Your Honor.

 6                 MR. BERKOWITZ:     That should work, yes.

 7                 THE COURT:    Okay.   The Court will set the next

 8     status conference by video on December 8th at 2:00 p.m.         And

 9     if there's nothing else, we're adjourned.

10                 MR. DeFILIPPIS:     Thank you, Your Honor.

11                 MR. BERKOWITZ:     Thank you.

12                      (Whereupon the hearing was

13                       concluded at 11:21 a.m.)

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 1                  CERTIFICATE OF OFFICIAL COURT REPORTER

 2

 3                      I, LISA A. MOREIRA, RDR, CRR, do hereby

 4     certify that the above and foregoing constitutes a true and

 5     accurate transcript of my stenographic notes and is a full,

 6     true and complete transcript of the proceedings to the best

 7     of my ability.

 8          NOTE:   This hearing was held during the COVID-19

 9     pandemic stay-at-home restrictions and is subject to the

10     technological limitations of court reporting remotely.

11                      Dated this 27th day of October, 2021.

12

13
                                         /s/Lisa A. Moreira, RDR, CRR
14                                       Official Court Reporter
                                         United States Courthouse
15                                       Room 6718
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16                                       Washington, DC 20001

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